Case 18-66629-lrc   Doc 70   Filed 01/16/20 Entered 01/16/20 16:03:59   Desc Main
                             Document      Page 1 of 7




 IT IS ORDERED as set forth below:



 Date: January 16, 2020

                                                       _____________________________________
                                                                  Lisa Ritchey Craig
                                                             U.S. Bankruptcy Court Judge

_______________________________________________________________
Case 18-66629-lrc   Doc 70   Filed 01/16/20 Entered 01/16/20 16:03:59   Desc Main
                             Document      Page 2 of 7
Case 18-66629-lrc   Doc 70   Filed 01/16/20 Entered 01/16/20 16:03:59   Desc Main
                             Document      Page 3 of 7
Case 18-66629-lrc   Doc 70   Filed 01/16/20 Entered 01/16/20 16:03:59   Desc Main
                             Document      Page 4 of 7
Case 18-66629-lrc   Doc 70   Filed 01/16/20 Entered 01/16/20 16:03:59   Desc Main
                             Document      Page 5 of 7
Case 18-66629-lrc   Doc 70   Filed 01/16/20 Entered 01/16/20 16:03:59   Desc Main
                             Document      Page 6 of 7
Case 18-66629-lrc   Doc 70   Filed 01/16/20 Entered 01/16/20 16:03:59   Desc Main
                             Document      Page 7 of 7
